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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3148
                                     )
           v.                        )
                                     )
CHAD W. FERGUSON,                    )                   ORDER
                                     )
                Defendant.           )
                                     )
                                     )


     IT IS ORDERED:

     Defendant’s motion, filing no. 111, is granted. Pretrial
services shall arrange screening for admission into an inpatient
treatment program, and shall notify the court when defendant has
been accepted into treatment.

     DATED this 9th day of February, 2009.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
